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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:
                                                           Chapter 11
FUSE, LLC, et al.,1
                                                           Case No. 19-10872 (KG)
                        Debtors.
DIRECTV, LLC,

                        Plaintiff,

         v.                                                Adv. Pro. No. 19-50193 (KG)

FUSE, LLC,

                        Defendant.

    MOTION OF PLAINTIFF DIRECTV, LLC FOR AN ORDER AUTHORIZING THE
                    ADVERSARY COMPLAINT SEEKING
               DECLARATORY RELIEF BE FILED UNDER SEAL

                Plaintiff DIRECTV, LLC (“DIRECTV”), by and through its attorneys, hereby

moves this Court (the “Motion”) for entry of an order, in substantially the form attached hereto

as Exhibit A, pursuant to section 107(b) of Title 11 of the United States Code (the “Bankruptcy

Code”), Rule 9018 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rules 9018-1(b) and (c) of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”) authorizing the filing

under seal of an unredacted version of the Adversary Complaint Seeking Declaratory Relief (the

“Complaint”) filed in the above-captioned adversary proceeding (the “Adversary Proceeding”)


1
         The Debtors and the last four digits of their taxpayer identification numbers include: Fuse
         Media, Inc. (9721); Fuse Media, LLC (0560); Fuse, LLC (1888); JAAM Productions,
         LLC (5499); SCN Distributions, LLC (9656); Latino Events LLC (8204); Fuse Holdings
         LLC (5673); Fuse Finance, Inc. (8683); and FM Networks LLC (6500). The Debtors’
         headquarters and service address is 700 North Central Avenue, Suite 600, Glendale, CA
         91203.
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against Fuse, LLC (“Fuse” or the “Debtor”). In support of this Motion, DIRECTV respectfully

represents as follows:

                                          JURISDICTION

               1.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334.

               2.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

               3.        The statutory bases for the relief requested herein are sections 105(a) and

107(b) of the Bankruptcy Code, as supplemented by Bankruptcy Rule 9018 and Local Rule

9018-1.

                                          BACKGROUND

               4.        The relevant factual background is set forth in the Complaint which seeks

declaratory relief to clarify the terms of DIRECTV’s contractual relationship with Fuse. As

noted in the Declaration of Michael Roggero In Support of First Day Motions filed by Fuse and

its affiliated Debtors in their bankruptcy case [M.D.I. 3], there are justiciable disputes that go to

the heart of the continued viability of the contractual relationship. DIRECTV contends that Fuse

is in breach of its agreement with DIRECTV and has an obligation to cure. If Fuse fails to cure,

DIRECTV can terminate its agreement with Fuse.            Fuse disputes that it has breached the

agreement.

               5.        Resolving this dispute and clarifying the terms of the parties’ contractual

relationship is necessary to resolve issues relating to (i) the ability of the Debtors to assume the

DIRECTV agreement; and (ii) if the Debtors are capable of assuming the DIRECTV agreement,

the terms under which both the Debtors and DIRECTV must perform under the assumed




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DIRECTV agreement. The resolution to these disputes may impact the Debtors’ ability to

confirm its proposed prepackaged plan of reorganization.

                                     RELIEF REQUESTED

               6.      By this Motion, DIRECTV respectfully request that the Court enter an

order authorizing an unredacted version of the Complaint filed in the Adversary Proceeding (the

“Unredacted Complaint”) to be filed under seal and not made publicly available.

                                      BASIS FOR RELIEF

               7.      Section 107(b) of the Bankruptcy Code provides bankruptcy courts with

the authority to issue orders that will protect entities from potential harm that may result from the

disclosure of certain confidential information. This section provides, in pertinent part:

               On request of a party in interest, the bankruptcy court shall, and on
               the bankruptcy court’s own motion, the bankruptcy court may —
               protect an entity with respect to a trade secret or confidential
               research, development, or commercial information ... .

11 U.S.C. § 107(b).

               8.      Bankruptcy Rule 9018 sets forth the procedures by which a party may

move for relief under Bankruptcy Code section 107(b), and provides, in relevant part, that “[o]n

motion or on its own initiative, with or without notice, the court may make any order which

justice requires (1) to protect the estate or any entity in respect of a trade secret or other

confidential research, development, or commercial information . . . .” Fed. R. Bankr. P. 9018.

               9.      Local Rule 9018-1 requires any party who seeks to file documents under

seal to file a motion to that effect. Del. Bankr. L.R. 9018-1(b). The Rule expressly contemplates

orders authorizing the filing of future documents under seal. See Del. Bankr. L.R. 9018-1(c).

               10.     Unlike the analogous provision in Rule 26(c) of the Federal Rules of Civil

Procedure, section 107(b) of the Bankruptcy Code does not require an entity seeking to file



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documents under seal to demonstrate “good cause.” Video Software Dealers Ass’n v. Orion

Pictures Corp. (In re Orion Pictures Corp.), 21 F.3d 24, 28 (2d Cir. 1994); see Phar-Mor, Inc. v.

Defendants Named Under Seal (In re Phar-Mor, Inc.), 191 B.R. 675, 679 (Bankr. N.D. Ohio

1995) (“In other areas of the law, courts have relied on showings of ‘compelling reasons,’ or

balancing the interests of privacy and public right to know, when reviewing a request for judicial

non-disclosure. The mandatory language of § 107(b) negates the need for such inquiries.”

(citation omitted)). Rather, if the material sought to be protected satisfies one of the categories

identified in § 107(b), “the court is required to protect a requesting party and has no discretion to

deny the application.” Orion Pictures, 21 F.3d at 27 (emphasis in original).

               11.     DIRECTV respectfully submits that sufficient cause exists for the Court to

grant the relief requested.    The DIRECTV Agreement contains a confidentiality provision

pursuant to which the parties agreed not to publicly disclose it terms. As the Complaint contains

numerous references to the terms of the DIRECTV Agreement, cause exits to permit the filing of

the Complaint under seal so that as to preserve confidentiality until such time as an appropriately

redacted version can be prepared and filed on the docket.

               12.     DIRECTV submits that no party will be harmed by filing the Unredacted

Complaint under seal, since the Debtor will have appropriate access to the Unredacted

Complaint.

               13.     Therefore, the Court should authorize and direct the filing under seal of

the Unredacted Complaint.

                                             NOTICE

               14.     Notice of this Motion will be served upon the Debtor.             DIRECTV

respectfully submits that no other or further notice is necessary under the circumstances.

               WHEREFORE, DIRECTV respectfully request that this Court enter an order


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substantially in the form attached hereto (i) authorizing and directing the filing under seal of the

Unredacted Complaint; and (ii) granting such other relief as the Court deems just and proper.

                                              MORRIS NICHOLS ARSHT & TUNNELL LLP


                                              /s/ Derek C. Abbott
                                              Donna L. Culver (#2983)
                                              Derek C. Abbott (#3376)
                                              1201 North Market Street, 16th Floor
                                              P.O. Box 1347
                                              Wilmington, DE 19899-1347
                                              Tel: (302) 658-9200
                                              Fax: (302) 658-3989
                                              Email: dculver@mnat.com
                                                      dabbott@mnat.com

                                              Attorneys for Plaintiff DIRECTV


OF COUNSEL:

Brian J. Lohan
Jeffrey A. Fuisz
Robert T. Franciscovich
ARNOLD & PORTER KAYE SCHOLER LLP
250 West 55th Street
New York, NY 10019-9710
Tel: (212) 836-8000
Fax: (212) 836-6459
Email: Brian.lohan@arnoldporter.com
       Jeffrey.fuisz@arnoldporter.com
       Robert.franciscovich@arnoldporter.com

Mark Romero
Christine Cwiertny
CROWELL & MORING LLP
515 South Flower Street, 40th Floor
Los Angeles, CA 90071-2201
Tel: (213) 622-4750
Fax: (213) 622-2690
Email: MRomeo@crowell.com
        CCwiertny@crowell.com

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